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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MARYLAND
                                  (Northern Division)


UMAR BURLEY, et al.,

Plaintiffs,
                                   Civil Action       Civil Case No. SAG-18-1743
        v.

BALTIMORE POLICE DEPARTMENT,
et al.,

                 Defendants.


                              * * * * * * * * * * *
        Whereas, the parties have stipulated that certain discovery material be treated as

confidential;

        Accordingly, it is this ____ day of ________________, 2020, by the United

States District Court for the District of Maryland, ORDERED:

        1.       Designation of Discovery Materials as Confidential.          All documents

produced in the course of discovery, all Answers to Interrogatories, all Answers to

Requests for Admission, all Responses to Requests for Production of Documents, and

all deposition testimony and deposition exhibits shall be subject to this Order concerning

confidential information, as set forth below:

        (a)      The designation of confidential information shall be made by placing or

        affixing on the document, in a manner which will not interfere with its legibility, the

        word “CONFIDENTIAL.”          One who provides material may designate it as

        “CONFIDENTIAL” only when such person in good faith believes it contains

        sensitive personal information, trade secrets or other confidential research,
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development, or commercial information which is in fact confidential. A party

shall not routinely designate material as “CONFIDENTIAL,” or make such a

designation without reasonable inquiry to determine whether it qualifies for such

designation.   Except for documents produced for inspection at the party’s

facilities, the designation of confidential information shall be made prior to, or

contemporaneously with, the production or disclosure of that information. In the

event that documents are produced for inspection at the party’s facilities, such

documents may be produced for inspection before being marked confidential.

Once specific documents have been designated for copying, any documents

containing confidential information will then be marked confidential after copying

but before delivery to the party who inspected and designated the documents.

There will be no waiver of confidentiality by the inspection of confidential

documents before they are copied and marked confidential pursuant to this

procedure.

(b)   Portions of depositions of a party’s present and former officers, directors,

employees, agents, experts, and representatives shall be deemed confidential

only if they are designated as such when the deposition is taken or within seven

business days after receipt of the transcript. Any testimony which describes a

document which has been designated as “CONFIDENTIAL,” as described above,

shall also be deemed to be designated as “CONFIDENTIAL.”

(c)   Information or documents designated as confidential under this Order

shall not be used or disclosed by the parties or counsel for the parties or any

persons identified in subparagraph (d) below for any purposes whatsoever other



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than preparing for and conducting the litigation in which the information or

documents were disclosed (including appeals). The parties shall not disclose

information or documents designated as confidential to putative class members

not named as plaintiffs in putative class litigation unless and until one or more

classes has/have been certified.

(d)   The parties and counsel for the parties shall not disclose or permit the

disclosure of any documents or information designated as confidential under this

Order to any other person or entity, except that disclosures may be made in the

following circumstances:

      (i)     Disclosure may be made to counsel and employees of counsel for

      the parties who have direct functional responsibility for the preparation and

      trial of the lawsuit. Any such employee to whom counsel for the parties

      makes a disclosure shall be provided with a copy of, and become subject

      to, the provisions of this Order requiring that the documents and

      information be held in confidence.

      (ii)    Disclosure may be made only to employees of a party required in

      good faith to provide assistance in the conduct of the litigation in which the

      information was disclosed.

      (iii)   Disclosure may be made to court reporters engaged for depositions

      and those persons, if any, specifically engaged for the limited purpose of

      making photocopies of documents. Prior to disclosure to any such court

      reporter or person engaged in making photocopies of documents, such

      person must agree to be bound by the terms of this Order.



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             (iv)   Disclosure may be made to consultants, investigators, or experts

             (hereinafter referred to collectively as “experts”) employed by the parties

             or counsel for the parties to assist in the preparation and trial of the

             lawsuit. Prior to disclosure to any expert, the expert must be informed of

             and agree in writing to be subject to the provisions of this Order requiring

             that the documents and information be held in confidence.

      (e)    Except as provided in subparagraph (d) above, counsel for the parties

      shall keep all documents designated as confidential which are received under

      this Order secure within their exclusive possession and shall take reasonable

      efforts to place such documents in a secure area.

      (f)    All copies, duplicates, extracts, summaries, or descriptions (hereinafter

      referred to collectively as “copies”) of documents or information designated as

      confidential under this Order or any portion thereof shall be immediately affixed

      with the word “CONFIDENTIAL” if that word does not already appear.

      2.     Confidential Information Filed with Court. To the extent that any materials

subject to this Confidentiality Order (or any pleading, motion, or memorandum

disclosing them) are proposed to be filed or are filed with the Court, those materials and

papers, or any portion thereof which discloses confidential information, shall be filed

under seal (by the filing party) with the Clerk of the Court with a simultaneous motion

pursuant to L.R. 104.13(c) (hereinafter the “Interim Sealing Motion”), in accordance with

the current version of the Court’s Electronic Filing Requirements and Procedures for

Civil Cases. The Interim Sealing Motion shall be governed by L.R. 105.11. Even if the

filing party believes that the materials subject to the Confidentiality Order are not



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properly classified as confidential, the filing party shall file the Interim Sealing Motion;

provided, however, that the filing of the Interim Sealing Motion shall be wholly without

prejudice to the filing party’s rights under paragraph (4) of this Confidentiality Order.

       3.     Party Seeking Greater Protection Must Obtain Further Order.                   No

information may be withheld from discovery on the ground that the material to be

disclosed requires protection greater than that afforded by paragraph (1) of this Order

unless the party claiming a need for greater protection moves for an order providing

such special protection pursuant to Fed. R. Civ. P. 26(c).

       4.     Challenging Designation of Confidentiality. A designation of confidentiality

may be challenged upon motion.              The burden of proving the confidentiality of

designated information remains with the party asserting such confidentiality.               The

provisions of Fed. R. Civ. P. 37(a)(5) apply to such motions.

       5.     Return of Confidential Material at Conclusion of Litigation.             At the

conclusion of the litigation, all material treated as confidential under this Order and not

received in evidence shall be returned to the originating party. If the parties so stipulate,

the material may be destroyed instead of being returned. The Clerk of the Court may

return to counsel for the parties, or destroy, any sealed material at the end of the

litigation, including any appeals.


Dated: March 11, 2020                              Respectfully submitted,



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                            _______________________________________________
                            UNITED STATES DISTRICT JUDGE




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